255-009-00 Case 2:05-CV-02310-SHI\/|-tmp Document 13 Filed 06/13/05 Page 1 of 4 Page|D 12

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

MARCUS KANARD PAYNE
Plaimiff($)

V.

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Case No: 05-23]0 - MI P

THE STATE ()F TENNESSEE, TIPTON
COUNTY, TENNESSEE, TIPTON COUNTY
SHERIFF, C.D. LEWIS, in his Offlcial Capacity,
CAPTAIN J.B. MITCHELL, in his Official
Capacity and Other Unknown Employees of the
TIPTON COUNTY JUSTICE CENTER]JAIL
Individually and in their Of)°`icial Capacity

Defendant(s)

 

RULE l6(b) SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on June 23, 2005. Present were Danese K.

Banks, counsel for Plaintiffs, and Brandon O. Gibson, counsel for Tipton County, Tennessee. At the conference,

the following dates were established as final dates for: '
INITIAL DISCLOSURES (RULE 26(3)(1)):
July 7, 2005
JOINING PARTIES:
August 23, 2005
AMENDING PLEADINGS
August 23, 2005
INITIAL MOTIONS TO DISMISS:
Septernber 23, 2005
COMPLETING ALL DISCOVERY: February 24, 2006

(a) DOCUMENT PRODUCTION: February 24, 2006

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e ruary 24, 2006

(c) EXPERT DISCLosURE (RULE zs(a)(z)):
(1) DisCLosURE oF PLAINTIFF’s RULE 26 EXPERT iNFoRMATioN;

December 16, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT INFORMATION:
January 16, 2005

(3) EXPERT WITNESS DEPOSITIONS:
February 24, 2006

FlLING DISPOSITIVE MOTIONS: March 24, 2006

No depositions may be scheduled to occur after the discovery cutoff date. All motions, requests for
admissions, or other filings that require a response must be filed sufficiently in advance of the discovery cutoff
date to enable opposing counsel to respond by the time permitted by the Rules prior to that date

Motions to compel discovery are to be filed and served by the discovery deadline or within 30 days of
the default or the service of the response, answer, or objection, which is the subject of the motion, if the default
occurs within 30 days of the discovery deadlineJ unless the time for filing of such motion is extended for good

cause shown, or the objection to the default, response, answer, or objection shall be waived.

This case is set for.nm\ry-ern+, and the trial is expected to last two (2) day(s). The pretrial order

date, pretrial conference date, and trial date Will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed attorney

mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule l l(a) (l) (A), all motions, except motions pursuant

to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may file an

additional reply, however, without leave of the court. If a party believes that a reply is necessary, it shall file a

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motion f&q§§`/€'Q)Bf§¥ ao&%}§?a§|€_(|)%l§an?ed |BY a m€mOrandum setting forth the reasons for Which a reply is
required.

The parties have/have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice. Absent good cause

shown, the scheduling dates set by this order will not be modified or extended

IT IS SO ORDERED. WJ\

TU M. PHAM`
UNITED sTATEs MAGISTRATE JUDGE
DATE= '®wa rs, rey

Respectfully submitted,

PENT}(EYT, GLENN & RUDD, PLLC
By: 1

WMO/QQ/Z/M
Brandon O. Gibson (#21485)
Attorneys for Tipton County, Tennessee

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Attorney for Plaintiff
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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02310 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

ESSEE

 

Jennifer L. Brenner

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Honorable J on McCalla
US DISTRICT COURT

